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                 UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DENNIS ROSS and ANGELA SCHUH,
on behalf of themselves and all others
similarly situated,

                          Plaintiffs,

       v.                                     Civil Action No.: 23-cv-05082

COMMUNITY HEALTH SYSTEMS,
INC., CHSPSC, LLC, D/B/A
COMMONWEALTH HEALTH,
MOSES TAYLOR HOSPITAL,
RETIONAL HOSPITAL OF
SCRANTON, SCRANTON HOSPITAL
COMPANY, LLC, and WILKES-
BARRE GENERAL HOSPITAL,

                          Defendants.

                       CERTIFICATION OF SERVICE

      I hereby certify that true and correct copies of Defendants’ Notice and Petition

for Removal, Notice of Compliance with 23 U.S.C. § 1446(d), Civil Cover Sheet,

and this Certification of Service was served this 22nd day of December, 2023, via

overnight mail, upon the following:

                           Richard Shenkan, Esquire
                        SHENKAN INJURY LAWYERS
                            6550 Lakeshore Street
                          West Bloomfield, MI 48323

                            Attorneys for Plaintiffs



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                                       By:    ______________________________
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4855-8072-1304, v. 1




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